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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

     IN RE: Seroquel Products Liability Litigation

     MDL DOCKET NO. 1769


     This Document Relates to ALL CASES


                                              ORDER

           This cause is before the Court on MDL Plaintiffs’ and Defendants’ Joint Motion

     Requesting the Court to Adopt and Enter Proposed Case Management Orders (Doc. No. 110)

     filed December 12, 2006.

           The United States Magistrate Judge has submitted a Report recommending that the

     Motion be granted in part, denied in part, and modified.

           After an independent de novo review of the record in this matter, and noting the

     parties’ objections to the proposed changes to Case Management Order No. 2, and Plaintiffs’

     objections to severance, the Court agrees entirely with the findings of fact and conclusions of

     law in the Report and Recommendations.

           Therefore, it is ORDERED as follows:

           1.      The Report and Recommendation filed December 22, 2006 (Doc. No.113) , is

     ADOPTED and CONFIRMED and made a part of this Order with respect to Case

     Management Order No. 2 and severance.




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          2.     All of the plaintiffs’ claims (except for consortium claims ) are hereby severed. The

     Clerk is directed to open new separate files for each named plaintiff (with the consortium

     exception noted above). By separate order the Court will advise Plaintiffs’ counsel of the

     new case numbers, and the procedures for filing separate Amended Complaints and the

     payment of the filing fees (or application to proceed in forma pauperis). From this date

     forward all cases filed in this MDL are subject to this requirement. The disaggregated cases,

     though filed here, retain their status as transfer cases, subject to remand upon completion of

     the multidistrict proceedings.

          3.     All cases directly filed in the Orlando Division of the Middle District of Florida that

     are related to this MDL will be reviewed at the conclusion of these proceedings to determine

     whether they should be transferred to the district court in which the plaintiff resides.

          4.    The next status conference is scheduled before Magistrate Judge David A. Baker on

     February 8, 2007 at 10 AM., in Courtroom 6.

      5.         MDL Plaintiffs’ and Defendants’ Joint Motion Requesting the Court to Adopt and

     Enter Proposed Case Management Orders (Doc. No. 110) is granted in part, denied in part,

     and modified as follows:



                                  CASE MANAGEMENT ORDER NO. 2


     I.        Plaintiff Fact Sheets and Dismissals


                A. No later than January 31, 2007, at least 500 plaintiffs shall have either: (1) served

     AstraZeneca with completed Plaintiff Fact Sheets, executed authorizations, and responsive




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     documents requested in the Fact Sheets (collectively “PFS”), or (2) stipulated to dismissal

     without prejudice of their claims and stipulated that, should he/she later re-file, he/she shall

     do so by filing a complaint in a United States District Court in which venue is proper, shall

     not join any parties or amend his/her pleadings in any way that would defeat diversity

     jurisdiction, and shall not object to said case being transferred to this MDL. No later than

     February 28, 2007, and the last business day of each succeeding month ending June 30, 2007

     one-fifth of the Bailey plaintiffs shall do the same. No later than February 28, 2007 , and the

     last business day of each succeeding month ending April 30, 2007 one-third of the non-

     Bailey plaintiffs shall do the same. By February 16, 2007 plaintiffs’ counsel shall file a

     designation of the month each client’s completed form is due.


            B. All plaintiffs whose complaints are docketed in this MDL after January 31, 2007

     shall serve AstraZeneca with their PFSs within 45 days after docketing.


            C. If AstraZeneca has not received a completed PFS for a plaintiff within 10 days

     following the due date set forth above, AstraZeneca will send a Notice of Overdue Discovery

     to plaintiff’s counsel identifying the discovery overdue and stating that, unless the plaintiff

     complies with the Court’s discovery orders, the case will be subject to dismissal.


            D. If AstraZeneca has not received a completed PFS within 20 days after serving a

     plaintiff with a 10-day notice, AstraZeneca may submit to the Court an Order dismissing the

     Complaint without prejudice, using the form attached as Exhibit A to this Order. Plaintiff

     shall have 10 business days from the date AstraZeneca submits the dismissal order to file a

     notice certifying that the plaintiff has served upon AstraZeneca and AstraZeneca has




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     received a completed PFS, and attaching appropriate documentation of receipt. If a plaintiff

     files such a notice, the plaintiff’s claims shall not be dismissed. Unless plaintiff has served

     AstraZeneca with a completed PFS and has moved to vacate the dismissal without prejudice

     within 60 days after entry of any such Order of Dismissal Without Prejudice, the order will

     be converted to a Dismissal With Prejudice upon AstraZeneca’s motion.



     II.           AstraZeneca’s Production of Documents


             A. By December 19, 2006, AstraZeneca shall produce to Lead Counsel for plaintiffs

     current organizational charts reflecting its general corporate structure, the structure of the

     Seroquel team, and the structure of the drug safety team. By January 15, 2006, AstraZeneca

     shall produce to Lead Counsel for plaintiffs available organizational charts reflecting its

     general corporate structure, the structure of the Seroquel team, and the structure of the drug

     safety team for the past ten years. Plaintiffs may at any time serve a written request for

     additional organizational charts, and AstraZeneca reserves the right to object to such

     requests. By December 22, 2006, AstraZeneca shall identify the eight custodians for whom

     it has already substantially collected documents (“the Eight Custodians”) and the other

     custodians (approximately 72) from whom it has begun to collect documents and/or whom it

     has identified as persons who have custody of documents that are potentially relevant to this

     litigation.


             B. Plaintiffs may thereafter request that AstraZeneca collect and produce documents

     from AstraZeneca officers and employees who are not among the approximately 80




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     custodians whom AstraZeneca has identified. AstraZeneca reserves the right to object to

     such requests.


            C. AstraZeneca shall first produce the documents collected from the Eight

     Custodians. Thereafter, AstraZeneca shall attempt to produce documents to plaintiffs in the

     order that plaintiffs request AstraZeneca to produce such documents from custodians other

     than the Eight Custodians, taking into account the status of document collections already

     underway.


            D. AstraZeneca shall begin producing documents collected from the Eight

     Custodians on or before January 5, 2007, and AstraZeneca shall thereafter produce

     documents collected from all other custodians as soon as practicable.


            E. Plaintiffs may notice the depositions of custodians following receipt of notice

     from AstraZeneca that the production of the custodian’s documents is complete. In the event

     plaintiffs elect to take a custodian’s deposition prior to receiving notice that production is

     complete, they may do so, but plaintiffs shall not be entitled to further depose that witness on

     the grounds that document production was not complete. AstraZeneca reserves the right to

     object to notices of deposition on any basis contemplated by the Federal Rules of Civil

     Procedure or by case law. On or before February 15, 2007, the parties shall present to the

     Court a joint proposed Order setting forth the guidelines for conducting depositions of

     witnesses in this MDL.




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            F. On or before January 5, 2007, AstraZeneca shall provide Lead Counsel for

     plaintiffs with a list of databases that correspond to the 14 categories identified in plaintiffs’

     proposed order regarding document production and preservation,1 and which potentially

     contain information relevant to Seroquel.           Thereafter, and before January 25, 2007,

     AstraZeneca will allow plaintiffs to conduct informal interviews, in person or by telephone,

     of a knowledgeable AstraZeneca-employed IT person or persons who can adequately address

     plaintiffs’ questions about said databases and how information can potentially be produced

     or extracted from them. If, after any such interview, plaintiffs determine that the individual

     cannot adequately answer their questions or does not have the requisite knowledge about the

     database in question, plaintiffs shall identify the issues for which they seek additional

     information, and AstraZeneca shall promptly identify an IT employee with knowledge of

     such issues and present that person for interview. Each such interview shall be conducted by

     one plaintiffs’ lawyer and one IT person employed by plaintiffs on behalf of all plaintiffs,

     although more than one plaintiffs’ lawyer and IT person may listen to the interview in person

     or via telephone. The interviewing lawyer shall be designated by or have the authority of

     Lead Counsel for Plaintiffs.




            1
              Plaintiffs’ proposed order identified the following types of databases: 1) adverse event
     database; 2) sales call tracking database; 3) IMS database; 4) clinical communications database;
     5) regulatory database; 6) regulatory contact databases; 7) clinical trial database; 8) medical
     literature database; 9) research report database; 10) documentum or similar databases (document
     management systems used by many pharmacy companies); 11) visitor speakers bureau and/or
     thought leader databases; 12) clinical payments database; 13) field force rosters; and 14) instant
     message, voicemail, discussion forum and prior website page databases, transcripts and
     recovery.


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            G. All pending Requests for Production, Requests for Admission, Interrogatories,

     and deposition notices directed to AstraZeneca are deemed withdrawn. AstraZeneca shall

     not be required to respond to these previously-served written discovery requests or

     deposition notices.


            H. Once plaintiffs have collectively served AstraZeneca with at least 2,500

     completed PFSs, plaintiffs shall be permitted to serve discovery requests and deposition

     notices other than as set forth herein. AstraZeneca reserves the right to object to any such

     future discovery requests on any basis contemplated by the Federal Rules of Civil Procedure,

     by the Local Rules, or by case law.


     III.   Format of Production of Custodial Files


            A.      Format of Production

                    1. AstraZeneca shall produce all responsive hard copy and electronic

                       documents in single-page Tagged Image File Format (“TIFF”) with an

                       accompanying load file, an extracted text file of electronic documents that

                       are unredacted, and an Optical Character Recognition (“OCR”) text file of

                       unredacted portions of redacted documents and hard copy documents.


                    2. Documents that present imaging or formatting problems shall be promptly

                       identified and the Parties shall meet and confer to attempt to resolve the




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                     problems. The Parties are not required to produce exact duplicates of

                     electronic documents stored in different electronic locations.          The

                     metadata for documents which have been “de-duplicated” across custodial

                     files will indicate the names of the custodians in whose files the

                     documents are located. The Plaintiffs shall produce documents on either

                     DVD or CD and may produce fact sheets by email in “.pdf” format.

                     AstraZeneca will produce documents on DVD or hard drives.

                3.   Each page of a produced document shall have a legible, unique page

                     identifier (“Bates Number”) and confidentiality legend (where applicable)

                     on the face of the image at a location that does not obliterate, conceal, or

                     interfere with any information from the source document.          No other

                     legend or stamp will be placed on the document image other than the

                     Bates Number, confidentiality legend (where applicable), and redactions

                     addressed above.


                4. For redacted documents not yet reviewed by AstraZeneca as of the date of

                     this order, the metadata for each document will indicate the basis for the

                     redaction (e.g., “other AstraZeneca product,” “privacy,” or “privilege”) at

                     the time the redacted document is produced.




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            B.          Metadata


            To the extent possible and practicable, AstraZeneca will provide the following

     metadata fields:


                             (a) Electronic document type;

                             (b) Create date;

                             (c) File name

                             (d) File location;

                             (e) Source location;

                             (f) Starting production number;

                             (g) Ending production number;

                             (h) Custodian;

                             (I) Last date modified;

                             (j) Author;

                             (k) Recipient(s);

                             (l) Document date (if different from create date);

                             (m) cc(s);

                             (n) bcc(s);

                             (o) Subject;




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                           (p) Title; and

                           (q) Attachment information (for e-mails).


     If AstraZeneca determines that it is impossible to produce certain metadata fields for a type

     or types of documents, AstraZeneca shall so inform plaintiffs. If AstraZeneca determines

     that the production of certain metadata fields for a type or types of documents would be

     impracticable, unduly burdensome or unduly expensive, AstraZeneca shall so inform

     plaintiffs, and the parties shall promptly meet and confer on what should be done, without

     prejudice to AstraZeneca’s right to object to production of such metadata fields or plaintiffs’

     right to move to compel such production.


            C.       Databases


                    1. AstraZeneca’s identification of databases and its permitting plaintiffs to

                       interview a person or persons who can speak knowledgeably and

                       informatively about said databases as set forth in paragraph II.F. above

                       may not be construed as an agreement to produce such databases. After

                       plaintiffs have collectively served AstraZeneca with at least 2,500

                       completed PFSs, the Parties will confer regarding the discoverability and

                       feasibility of any request for production of a database, including the form

                       and scope of any such production.




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                   2. The Court’s assistance may be sought only after the Parties have failed to

                      reach agreement after good faith discussions.


            D.      Costs


                   1. Documents and readily accessible electronically stored information

                      (“ESI”): While each Party expressly reserves its rights to seek costs

                      relating to this litigation, including the costs of producing documents and

                      readily accessible ESI, initially each Party will bear the costs to process and

                      review its own documents and readily accessible ESI.


                   2. Inaccessible and/or legacy ESI: To the extent that any Party requests data

                      that is not readily accessible, the Parties shall comply with the Federal

                      Rules of Civil Procedure in determining whether the inaccessible data is to

                      be produced and which Party will bear what portion of the costs of

                      production, if any, including the costs to process or review unique or non-

                      standard data. The Parties shall confer concerning inaccessible ESI prior

                      to seeking the Court’s assistance.

            E.      Privilege Log


            AstraZeneca will provide a privilege log in compliance with the Federal Rules of

     Civil Procedure as soon as practicable, but in no event more than 120 days after its first

     production of documents for which privilege is asserted to apply and then continuing on a




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     rolling basis thereafter.   The privilege log will indicate the custodian from whom the

     privileged document was collected.


     IV.    Preservation of Documents

            All parties and their counsel shall preserve evidence that may be relevant to his

     action. The duty extends to document, data, and tangible things in possession, custody and

     control of the parties to this action, and any employees, agents, contractors, carriers bailees,

     or other non-parties who possess materials reasonably anticipated to be subject to discovery

     in this action. “Documents, data, and tangible things” is to be interpreted broadly to include

     writings, records, files, correspondence, reports, memoranda, calendars, diaries, minutes,

     electronic messages, voice mail (for AstraZeneca only, to the extent practicable and to the

     extent a custodian utilized a program that allowed maintenance of such voicemail), E-mail,

     telephone message records or logs, computer and network activity logs, hard drives, backup

     data (excluding duplicative data maintained for purposes of disaster recovery), removable

     computer storage media such as tapes, discs and cards, printouts, document image files, Web

     pages, databases, spreadsheets, software, books, ledgers, journals, orders, invoices, bills,

     vouchers, checks statements, worksheets, summaries, compilations, computations, diagrams,

     graphic presentation, drawings, films, charts, digital or chemical process photographs, video,

     phonographic, tape or digital recordings or transcripts thereof, drafts, jottings and notes,

     studies or drafts of studies or other similar such material. Information that serves to identify,

     locate, or link such material, such as file inventories, filed folders, indices, and metadata, is

     also included in this definition. Each party shall take reasonable steps to preserve all




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     documents, data and tangible things containing information potentially relevant to the subject

     matter of this litigation.   Counsel is under an obligation to the Court to exercise all

     reasonable efforts to identify and notify parties and nonparties, including employees of

     corporate or institutional parties. The definition and scope of the term “nonparties” will be

     defined later.

            The failure of any party to have preserved in the past every potentially relevant

     “document, data and tangible thing,” as defined above, shall not in and of itself mean that

     said party has engaged in spoliation of evidence. Any party who believes that another party

     has engaged in spoliation may move for any relief he/she/it thinks appropriate and the

     opposing party may respond to said motion on any basis that he/she/it thinks appropriate.


    V.     Amendment of Previous Orders

           This Order supersedes any prior orders of this Court to the extent that it is inconsistent

    with such Orders.

           DONE and ORDERED in Orlando, Florida on January 26, 2007.




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                                                 Exhibit A
                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION


    IN RE: Seroquel Products Liability Litigation,
    MDL DOCKET NO. 1769


    This document relates to:
    INSERT CASE INFORMATION
    ________________________________________


            IT IS ON THIS ___ day of ___________ , 200__ ORDERED as follows:

            1.      All of the claims of following Plaintiffs only are DISMISSED WITHOUT

    PREJUDICE from the above-captioned cases for failure to timely serve upon Defendants a

    completed PFS with all requested information, documents, and authorizations:

    Plaintiff X (Case Name, Case No.),

    Plaintiff Y (Case Name, Case No.)

            2.      Plaintiffs may reinstate their claims upon motion to this Court to vacate the

    Dismissal Without Prejudice provided that Plaintiffs serve Defendants with a substantially

    complete PFS, responsive documents and authorizations. If such dismissal is vacated, the

    claims of those plaintiffs shall relate back to the date of original filing and will be treated for

    all purposes as if they had never been dismissed in the first place.



    DATED: ______________                           __________________________________
                                                    ORDERED BY THE COURT
                                                EXHIBIT A
                                                     1
